Case 1:19-cv-02502-RM-NYW Document 21 Filed 02/26/20 USDC Colorado Page 1 of 2




                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO


  Civil Action No. 1:19-cv-2502


  MARY BENSON,

  Plaintiff,

  v.

  STATE FARM MUTUAL AUTOMOBILE INSURANCE COMPANY,

  Defendant.

  ______________________________________________________________________

                 NOTICE OF COMPLIANCE WITH COURT ORDER
  ______________________________________________________________________

         PLEASE TAKE NOTICE, that in compliance with Court Order in Dkt 20 Minute Order,
  defendant has served Genesis Eldercare Physician Services, Inc. with said Court Order, by
  personally handing same to the registered agent of Genesis Eldercare Physician Services, Inc.,
  Registered Agent Corporation Service Agency. Return of Service attached as Exhibit.

           Dated this 26th day of February, 2020.
                                                     MESSNER REEVES LLP

                                                     /s/Heather A. Salg
                                                     Heather A. Salg
                                                     Tamara C. Jordan
                                                     Nathaniel Scott Barker
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                                                     Automobile Insurance Company


  {04011556 / 1}
Case 1:19-cv-02502-RM-NYW Document 21 Filed 02/26/20 USDC Colorado Page 2 of 2




                                CERTIFICATE OF SERVICE

          I hereby certify that on February 26, 2020, the foregoing NOTICE OF COMPLIANCE
  WITH COURT ORDER was filed via the court’s ECF filing system, which caused electronic
  service to be made on the following:

  David A. Klibaner, Esq.
  Pamela K. Pritzel, Esq.
  Klibaner Law Firm, PC
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  Attorney for Plaintiff


                                                    /s/ Jeannie Tesar
                                                    Jeannie Tesar




                                        {04011556 / 1}2
